                               INSURER ADOPTION AGREEMENT

The undersigned Insurer has read and understands the Mutual Made Whole Release attached hereto
as Exhibit A,1 and agrees to be bound by the terms thereof as to each Claimant that is the
undersigned Insurer’s (or its predecessor’s) insured that signs the Mutual Made Whole Release
upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
Fire Victim Trust by such Claimant following the Effective Date of the Debtors’ Plan and the
funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name: Sentry Insurance a Mutual Company

By:

Name:               Cynthia D. Barnes
Title:             Senior Subrogation Adjuster - Property




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                               INSURER ADOPTION AGREEMENT

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Insurance Guarantee Association.



SPCP Group, LLC



By:
Name:            Michael Gatto
Title:           Authorized Signatory




Subrogation Claims Holdings, LLC



By:
Name:            Michael Gatto
Title:           Authorized Signatory




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                                INSURER ADOPTION AGREEMENT

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as used in the Mutual Made Whole Release shall include (without limitation) the California
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Insurer

Carrier Group: Latitude Subrogation Services

Insurer Names: Star Insurance Company
               United Specialty Insurance

By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                               INSURER ADOPTION AGREEMENT

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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name: State Farm County Mutual Insurance Company of Texas

By:              _____________________________________

Name:            Phillip Hawkins

Title:           Senior Vice President




1
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Release.



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                               INSURER ADOPTION AGREEMENT

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Insurer

Insurer Name: State Farm Fire and Casualty Company

By:                                     6/5/2020
                 _______________________________

Name:            Sue Murray

Title:           VPO, P&C Claims




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                               INSURER ADOPTION AGREEMENT

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funding of the Subrogation Wildfire Trust with $11 billion. For the avoidance of doubt, “Insurer”
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name: State Farm General Insurance Company

By:              _______________________________

Name:            Tom Conley

Title:           Senior Vice President




1
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Release.



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                               INSURER ADOPTION AGREEMENT

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Insurer

Insurer Name: State Farm Mutual Automobile Insurance Company

By:                                    6/5/2020
                 _________________________________________

Name:            Sue Murray

Title:           VPO, P&C Claims




1
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Release.



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Insurer

Insurer Name: Camberwell Green LLC

By:

Name:            James Dougherty

Title:           Authorized Signatory




1
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Release.



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                                INSURER ADOPTION AGREEMENT

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funding of the Subrogation Wildfire Trust with $11 billion
as used in the Mutual Made Whole Release shall include (without limitation) the California
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Insurer

Carrier Group: Talbot Underwriting

Insurer Names: Certain Underwriters at Lloyd s of London, UK Subscribing to Policy No.
               B0429BA1704109
               Certain Underwriters at Lloyd
               B0429BA1802148
               Certain Underwriters at Lloyd
               PN1600673


By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                               INSURER ADOPTION AGREEMENT

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Insurer

Insurer Name: TOKIO MARINE KILN SYNDICATES LIMITED

By:

Name:

Title:




1
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Release.



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                                INSURER ADOPTION AGREEMENT

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Insurer

Insurer Name: Tokio Marine America Insurance Company


By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
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Release.



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                               INSURER ADOPTION AGREEMENT

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as used in the Mutual Made Whole Release shall include (without limitation) the California
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Insurer

Insurer Name: TOPA INSURANCE COMPANY

By:              Cynthia Maia

Cynthia Maia




1
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Release.



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                               INSURER ADOPTION AGREEMENT

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as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name: TLFI INVESTMENTS B, LLC

By:              REDSTONE OMJV GP, LLC, its managing member

Name:             Joshua Peck

Title:            Vice President




1
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Release.



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Insurer

Insurer Names: The Travelers Indemnity Company and certain of its property

casualty affiliates, including Travelers Property Casualty Company of America,

Northfield Insurance Company, The Travelers Indemnity Company of Connecticut,

St. Paul Fire and Marine Insurance Company, Travelers Casualty Insurance Company of
America,

Travelers Commercial Insurance Company, The Standard Fire Insurance Company,

The Travelers Home and Marine Insurance Company, Fidelity and Guaranty

Insurance Underwriters, Inc., The Travelers Indemnity Company of America,

and Travelers Property Casualty Insurance Company



By:

Name:                    James V. Somers

Title:                   Vice-President




1
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Release.



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                               INSURER ADOPTION AGREEMENT

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as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name: United States Liability Insurance Company

By:              James M. Ziff


Name:

Title:           Vice President – Property Claims




1
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Release.



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                               INSURER ADOPTION AGREEMENT

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“Insurer” as used in the Mutual Made Whole Release shall include (without limitation) the
California Insurance Guarantee Association.




Insurer

Insurer Name:            Vibe Syndicate Management (As Lead Insurer)

By:                      /s/ Rob Pitt (electronic signature provided due to present lack of access to printer or scanner)

Name:                    Rob Pitt

Title:                   Claims Controller




1
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Release.



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                               INSURER ADOPTION AGREEMENT

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Insurer

Insurer Name: Wawanesa General Insurance Company


By:

Name:            Philip Butera___

Title:           Claims Manager




1
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Release.



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Insurer

Carrier Group: XL Catlin

Insurer Name: Certain Underwriters at Lloyd                                and Insurers Subscribing to
              Policy No. B06011530U16
              Certain Underwriters at Lloyd                                and Insurers Subscribing to
              Policy No. PTNAM1802878
              Certain Underwriters at Lloyd                                and Insurers Subscribing to
              Policy No. B115851701677
              Certain Underwriters at Lloyd                                and Insurers Subscribing to
              Policy No. ESF0224775


By:

Name:            Paul Casetta

Title:           Subrogation Attorney




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                                  INSURER ADOPTION AGREEMENT

The unde rs igne d Ins ure r ha s rea d a nd unde rs ta nds the Mutua l Ma de Whole Re le a s e a tta che d he re to
a s Exhibit A,1 a nd a gre e s to be bound by the te rms the re of a s to e a ch Cla ima nt tha t is the

upon, a nd only upon, the e xe cution of s uch Mutua l Ma de Whole Realend   a sseubmis s ion to eth
Fire Victim Trus t by s uch Cla ima nt
funding of the S ubroga tion
                           Wildfire Trus t with $11 billion
a s us e d in the Mutua l Ma de Whole Re le a s e s ha ll include (withou
                                                                   t limita tion) the Ca lifornia
Ins ura nce Gua rante e As s ocia tion.




Insurer

Ins ure r Na me :As cot Unde rwriting Ltd

By:

Na me :           Olivia Bra dle y

Title :           Cla ims Adjus te r




1
 Ca pita lize d te rms us e d but not de fine d he re in s ha ll ha ve the me a nings give n to the m in the Mutua l Ma de Whole
Re le a s e .



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                                INSURER ADOPTION AGREEMENT

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Insurer:

Name:                Banc of America Credit Products, Inc.,
                     as assignee of Metropolitan Property and Casualty Insurance Company



By:

Name:                Seth Denson

Title:               Director




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                                    INS URER ADOPTION AGREEMENT

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Fire Victim Trust by such Claimant •• ••• • •• • ••• ••• •••• ••• ••• ••••• •••• ••• • • •• ••••• •• • •• • • ••• • •••••••••••••••••••••••••
funding of the Subrogation Wildfire Trust with $11 billion•••• • •••• •••• • •• • • • ••• ••• • • • •••••• •• •••••••••••••••••••••••••••••
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Ins ure r

Insurer Name: ARG Contact LLC

By:

Name:               Richard Grissinger

Title:              Authorized Signatory




1
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Release.



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                                    INSURER ADOPTION AGREEMENT

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upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
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funding of the Subrogation Wildfire Trust with $11 billion•••• • •••• •••• • •• • • • ••• ••• • • • •••••• •• •••••••••••••••••••••••••••••
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




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                                    INSURER ADOPTION AGREEMENT

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• • • ••••• • •• ••• •• •••••••• ••••••• ••• • ••••• ••••••• •• •• • ••• •••••• • •••• ••• • •• • ••• •• ••• • • •••• • ••• •• •••••••••••••••••••••••••
upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
Fire Victim Trust by such Claimant •• ••• • •• • ••• ••• •••• ••• ••• ••••• •••• ••• • • •• ••••• •• • •• • • ••• • •••••••••••••••••••••••••
funding of the Subrogation Wildfire Trust with $11 billion•••• • •••• •••• • •• • • • ••• ••• • • • •••••• •• •••••••••••••••••••••••••••••
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name:

By:

Name:               Richard Grissinger

Title:              Authorized Signatory




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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                                    INSURER ADOPTION AGREEMENT

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as Exhibit A,1 and agrees to be bound by the terms thereof as to each Claimant that is the
• • • ••••• • •• ••• •• •••••••• ••••••• ••• • ••••• ••••••• •• •• • ••• •••••• • •••• ••• • •• • ••• •• ••• • • •••• • ••• •• •••••••••••••••••••••••••
upon, and only upon, the execution of such Mutual Made Whole Release and submission to the
Fire Victim Trust by such Claimant •• ••• • •• • ••• ••• •••• ••• ••• ••••• •••• ••• • • •• ••••• •• • •• • • ••• • •••••••••••••••••••••••••
funding of the Subrogation Wildfire Trust with $11 billion•••• • •••• •••• • •• • • • ••• ••• • • • •••••• •• •••••••••••••••••••••••••••••
as used in the Mutual Made Whole Release shall include (without limitation) the California
Insurance Guarantee Association.




Insurer

Insurer Name:

By:

Name:               Richard Grissinger

Title:              Authorized Signatory




1
 Capitalized terms used but not defined herein shall have the meanings given to them in the Mutual Made Whole
Release.



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